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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     Nevada State Bar No. 8540
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Raquel_Lazo@fd.org

 7
     Attorney for Andrew Carson Irvine
 8
 9                              UNITED STATES DISTRICT COURT

10                                    DISTRICT OF NEVADA

11
     UNITED STATES OF AMERICA,                               Case No. 2:08-CR-340-GMN-LRL
12
                   Plaintiff,                                STIPULATION TO CONTINUE
13                                                             REVOCATION HEARING
            v.
                                                                   (Third Request)
14
     ANDREW CARSON IRVINE,
15
                   Defendant.
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17
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
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     Acting United States Attorney, and Kenneth Nicholas Portz, Assistant United States Attorney,
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     counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20
     and Raquel Lazo, Assistant Federal Public Defender, counsel for Andrew Carson Irvine, that
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     the Revocation Hearing currently scheduled on November 17, 2021 at 10:00 am, be vacated
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     and continued to a date and time convenient to the Court, but no sooner than January 1, 2022.
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            This Stipulation is entered into for the following reasons:
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            1.     On November 5, 2021, probation filed a sealed petition alleging new violations,
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     including two new law violations. ECF No. 156. Mr. Irvine is scheduled to make his initial
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     appearance on the petition tomorrow, November 16, 2021. Defense counsel was able to briefly
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 1   speak to government counsel and the probation officer regarding the new sealed petition. The
 2   parties believe that the new petition will impact the way the original petition is resolved. The
 3   parties currently contemplate a global resolution of both petitions.
 4          2.      Defense counsel has not had time to confer with Mr. Irvine regarding the new
 5   petition and still needs to follow-up with him regarding outstanding questions he had pertaining
 6   to the original petition. The requested additional time will permit defense counsel to meet and
 7   fully confer with Mr. Irvine regarding both pending petitions, obtain discovery pertaining to the
 8   new law violations alleged in the sealed petition, and allow the parties time to attempt to
 9   globally resolve both petitions.
10          3.      The defendant is currently in custody and agrees with the need for the
11   continuance.
12          4.      The parties agree to the continuance.
13          This is the third request for a continuance of the revocation hearing.
14          DATED this 15th day of November, 2021.
15
16    RENE L. VALLADARES                              CHRISTOPHER CHIOU
      Federal Public Defender                         Acting United States Attorney
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18       /s/ Raquel Lazo                                 /s/ Kenneth Nicholas Portz
      By_____________________________                 By_____________________________
19    RAQUEL LAZO                                     KENNETH NICHOLAS PORTZ
      Assistant Federal Public Defender               Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:08-CR-340-GMN-LRL
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     ANDREW CARSON IRVINE,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   Wednesday, November 17, 2021 at 10:00 a.m., be vacated and continued to

12    January 19, 2022 at the hour of 11:00 a.m.
     ________________

13                     16 day of November, 2021.
            DATED this ___

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                                               UNITED STATES DISTRICT JUDGE
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